

Taveras v Ortiz (2021 NY Slip Op 01874)





Taveras v Ortiz


2021 NY Slip Op 01874


Decided on March 25, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2021

Before: Manzanet-Daniels, J.P., Kern, Moulton, Shulman, JJ. 


Index No. 26433/17E Appeal No. 13434 Case No. 2020-03231 

[*1]Isabel Taveras et al., Plaintiffs-Appellants,
vGizette Ortiz, Defendant-Respondent, "John Doe," Defendant.


Mitchell Dranow, Sea Cliff, for appellants.
Mead, Hecht, Conklin &amp; Gallagher, LLP, White Plains (George P. Epstein, II of counsel), for respondent.



Order, Supreme Court, Bronx County (John R. Higgitt, J.), entered May 21, 2020, which, to the extent appealed from as limited by the briefs, in this action for personal injuries sustained when defendant's vehicle struck the rear of plaintiff's vehicle, denied plaintiffs' motion for partial summary judgment on the issue of liability, unanimously affirmed, without costs.
The descriptions of the accident given by the parties at their depositions render this matter inappropriate for resolution on summary judgment. In light of plaintiff's testimony that at the time of the accident, she was traveling 40 miles per hour on the expressway, with no cars traveling in front of her, as well as defendant's sworn testimony that plaintiff suddenly stopped on the highway, the record is sufficient to offer a possible nonnegligent explanation for the accident (see Baez-Pena v MM Truck &amp; Body Repair, Inc., 151 AD3d 473 [1st Dept 2017]; Berger v New York City Hous. Auth., 82 AD3d 531 [1st Dept 2011]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2021








